                             Case 24-10831-KBO                      Doc 1         Filed 04/22/24             Page 1 of 35

Fill in this information to identify the case:

United States Bankruptcy Court for the:
                              District of Delaware
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Express, Inc.


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                       One Express Drive
                                       Number              Street                                     Number         Street


                                                                                                      P.O. Box
                                       Columbus            Ohio           43230
                                          City                            State     Zip Code          City                         State     Zip Code


                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                       Franklin County
                                          County                                                      Number         Street




                                                                                                      City                         State     Zip Code




5. Debtor’s website (URL)                 https://www.express.com

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
                               Case 24-10831-KBO                  Doc 1         Filed 04/22/24           Page 2 of 35
Debtor            Express, Inc.                                                       Case number (if known)
           Name



                                            A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            4481 (Clothing Stores)

8. Under which chapter of the           Check One:
   Bankruptcy Code is the
   debtor filing?                       ☐ Chapter 7

                                        ☐ Chapter 9

      A debtor who is a “small          ☒ Chapter 11. Check all that apply:
      business debtor” must check
                                                 ☐      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      the first sub- box. A debtor as
      defined in § 1182(1) who                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      elects to proceed under                           $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      subchapter V of chapter 11                        operations, cash-flow statement, and federal income tax return or if any of these documents do not
      (whether or not the debtor is                     exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      a “small business debtor”)                 ☐      The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      must check the second sub-                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
      box                                               proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                        balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if any
                                                        of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                 ☐      A plan is being filed with this petition.
                                                 ☐      Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                        accordance with 11 U.S.C. § 1126(b).
                                                 ☒      The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                        Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                        Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                        Form 201A) with this form.
                                                 ☐      The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                        ☐ Chapter 12

9. Were prior bankruptcy cases          ☒ No         District
   filed by or against the debtor       ☐ Yes.                                           When       MM/DD/YYYY    Case number
   within the last 8 years?
                                                     District                            When                     Case number
     If more than 2 cases, attach a                                                                 MM/DD/YYYY
     separate list.




     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
                             Case 24-10831-KBO                      Doc 1        Filed 04/22/24          Page 3 of 35
Debtor           Express, Inc.                                                        Case number (if known)
          Name



10. Are any bankruptcy cases            ☐ No
    pending or being filed by a         ☒ Yes.                                                                      Relationship    Affiliate
                                                     Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?
   List all cases. If more than 1,                   District      District of Delaware                             When            4/22/2024
   attach a separate list.                         Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this      Check all that apply:
    district?
                                       ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       ☐    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?
                                                 ☐     It needs to be physically secured or protected from the weather.

                                                 ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                        (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                        options).
                                                 ☐     Other


                                                 Where is the property?
                                                                                          Number       Street



                                                                                          City                              State       Zip Code



                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.         Insurance agency

                                                                Contact name
                                                                Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☐     1-49                         ☐       1,000-5,000                    ☐     25,001-50,000
    creditors (on a                   ☐     50-99                        ☒       5,001-10,000                   ☐     50,001-100,000
    consolidated basis)               ☐     100-199                      ☐       10,001-25,000                  ☐     More than 100,000
                                      ☐     200-999




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
                             Case 24-10831-KBO                     Doc 1         Filed 04/22/24           Page 4 of 35
Debtor           Express, Inc.                                                       Case number (if known)
          Name



15. Estimated assets (on a           ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
    consolidated basis)              ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                     ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                     ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities (on        ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐ $500,000,001-$1 billion
    a consolidated basis)            ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒ $1,000,000,001-$10 billion
                                     ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐ $10,000,000,001-$50 billion
                                     ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐ More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    authorized representative of
    debtor                               I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on         4/22/2024
                                                              MM/ DD / YYYY


                                              /s/ Stewart Glendinning                                            Stewart Glendinning
                                              Signature of authorized representative of debtor                Printed name

                                              Title    Chief Executive Officer




18. Signature of attorney                     /s/ Domenic E. Pacitti                                         Date        4/22/2024
                                              Signature of attorney for debtor                                           MM/DD/YYYY



                                              Domenic E. Pacitti
                                              Printed name
                                              KLEHR HARRISON HARVEY BRANZBURG LLP
                                              Firm name
                                              919 North Market Street, Suite 1000
                                              Number                 Street
                                              Wilmington                                                             DE                19801
                                              City
                                              (302) 426-1189                                                         dpacitti@klehr.com
                                              Contact phone                                                              Email address
                                              3989                                                Delaware
                                              Bar number                                          State




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
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 Fill in this information to identify the case:
                                                                       ,
 United States Bankruptcy Court for the:
                             District of Delaware
                                       (State)                                                       ☐ Check if this is an
 Case number (if known):                            Chapter   11                                         amended filing


                                                     Rider 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the District of Delaware for relief under chapter 11 of title 11 of the United States Code.
The Debtors have moved for joint administration of these cases under the case number assigned to the chapter 11
case of Express, Inc.

Express, Inc.

Express BNBS Fashion, LLC

Express Fashion Digital Services Costa Rica, S.R.L.

Express Fashion Investments, LLC

Express Fashion Logistics, LLC

Express Fashion Operations, LLC

Express Finance Corp.

Express GC, LLC

Express Holding, LLC

Express Topco LLC

Express, LLC

UW, LLC
                         Case 24-10831-KBO                    Doc 1          Filed 04/22/24        Page 6 of 35



Official Form 201A (12/15)

                                       IN THE UNITED STATES BANKRUPTCY COURT
                                            FOR THE DISTRICT OF DELAWARE

                                                                         )
    In re:                                                               )        Chapter 11
                                                                         )
    EXPRESS, INC.,                                                       )        Case No. 24-___________(___)
                                                                         )
                                    Debtor.                              )
                                                                         )
        Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

        1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
    number is   001-34742

        2. The following financial data is the latest available information and refers to the debtor’s condition on
    March 2, 2024


         (a)   Total assets                                                   $    1,298,055,000
         (b)   Total debts (including debts listed in 2.c., below)            $    1,199,781,226
         (c)   Debt securities held by more than 500 holders                       N/A
                                                                                                             Approximate
                                                                                                             number of
                                                                                                             holders:
         secured     ☐    unsecured     ☐    subordinated      ☐     $
         secured     ☐    unsecured     ☐    subordinated      ☐     $
         secured     ☐    unsecured     ☐    subordinated      ☐     $
         secured     ☐    unsecured     ☐    subordinated      ☐     $
         secured     ☐    unsecured     ☐    subordinated      ☐     $


         (d)   Number of shares of preferred stock                                                           N/A
         (e)   Number of shares of common stock                                                              3,746,725


         Comments, if any:  The number of outstanding shares of common stock is current as of March 2, 2024. The list
    of names who owns, controls, or hold more than 5% of voting securities is current as of September 30, 2023 except for
    Royce Investment Partners who filed a 13G on 1/23/24.


         3. Brief description of debtor’s business: Express, Inc., together with its subsidiaries (“Express”) is a multi-brand
     fashion retailer. Express operates an omnichannel platform, including both physical and online stores.


         4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the
    voting securities of debtor:
    EXWHP, LLC; Royce Investment Partners; Gerard Guez.
                   Case 24-10831-KBO            Doc 1        Filed 04/22/24    Page 7 of 35



                                  UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF DELAWARE

                                                         )
    In re:                                               )      Chapter 11
                                                         )
    EXPRESS, INC.,                                       )      Case No. 24-___________(___)
                                                         )
                             Debtor.                     )
                                                         )

                                   LIST OF EQUITY SECURITY HOLDERS 1

                                                                                          Percentage of
               Equity Holder                     Address of Equity Holder 2
                                                                                           Equity Held
                     N/A                                       N/A                              N/A




1
       This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case. By the Motion of Debtors for Entry of
       Interim and Final Orders (I) Authorizing the Debtors to (A) File A Consolidated List of Creditors in Lieu
       of Submitting A Separate Mailing Matrix for Each Debtor, (B) File A Consolidated List of the Debtors’
       Thirty Largest Unsecured Creditors, (C) Serve Certain Parties in Interest by Email, and (D) Redact
       Certain Personally Identifiable Information of Natural Persons; (II) Approving the Form and Manner of
       Service of the Notice of Commencement; (III) Waiving the Requirement to File A List Of Equity
       Security Holders; and (IV) Granting Related Relief filed contemporaneously herewith, the Debtor is
       requesting a waiver of the requirement under Bankruptcy Rule 1007 to file a list of all of its equity
       security holders.
2
       Outstanding warrants are not reflected in ownership.
                Case 24-10831-KBO           Doc 1        Filed 04/22/24   Page 8 of 35



                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE

                                                     )
 In re:                                              )      Chapter 11
                                                     )
 EXPRESS, INC.,                                      )      Case No. 24-___________(___)
                                                     )
                         Debtor.                     )
                                                     )

                                   CORPORATE OWNERSHIP STATEMENT

        Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, there are
no corporations, other than a government unit, that directly or indirectly own 10% or more of any class of
the debtor’s equity interests.

     Corporation Owning 10% or                                                       Percentage of
                                              Address of Corporation
     More of Any Class of Equity                                                      Equity Held
                 N/A                                       N/A                            N/A
                                          Case 24-10831-KBO                    Doc 1        Filed 04/22/24              Page 9 of 35



    Fill in this information to identify the case:

    Debtor name:                    Express Inc., et al.
    United States Bankruptcy Court for the ___District of Delaware
                                                  (State)
    Case number (If known):                                                                                                                        ☐ Check if this is an
                                                                                                                                                   amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
Largest Unsecured Claims and Are Not Insiders 1                              12/15

A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes.
Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors,
unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.
        Name of creditor and complete mailing       Name, telephone number, and email          Nature of the     Indicate if claim   Amount of unsecured claim
            address, including zip code                address of creditor contact               claim (for       is contingent,     If the claim is fully unsecured, fill in only
                                                                                              example, trade     unliquidated, or    unsecured claim amount. If claim is partially
                                                                                                debts, bank          disputed        secured, fill in total claim amount and
                                                                                                   loans,                            deduction for value of collateral or setoff to
                                                                                               professional                          calculate unsecured claim.
                                                                                               services, and                           Total     Deduction         Unsecured claim
                                                                                               government                            claim, if   for value
                                                                                                 contracts)                          partially       of
                                                                                                                                     secured     collateral
                                                                                                                                                 or setoff
            LI&FUNG(TRADING) LIMITED             Rohan Sood                                  Trade Payable                                                          $36,572,074
            5TH FLOOR, LIFUNG TOWER, 888         RohanSood@lfsourcing.com
            CHEUNG SHA WAN ROAD,                 852-2300-5000
    1       KOWLOON
                                                 Winnie Chan
                                                 WinnieChanPY@LFSourcing.com

            NEWTIMES DEVELOPMENT                 Sue Lee                                     Trade Payable                                                           $9,182,274
            LIMITED                              Suelee@newtimesgroup.com
            AYAZAGA MAH. MIMAR SINAN             852-2711-1111
    2
            SOK., NO:21 B/34 SARIYER,
            ISTANBUL                             Eunice Kim
                                                 EuniceKim@newtimesgroup.com
            MANCHU TIMES FASHION LTD             Michael Li                                  Trade Payable                                                           $8,902,887
            PARK-IN COMMERCIAL BLDG, RM          MichaelLi@manchutimesfashion.com
            1316, 56 DUNDAS STREET,
    3       KOWLOON                              Olivia Luk, Director, Cross Functional
                                                 Teams
                                                 OliviaLuk@manchutimesfashion.com
                                                 852-23888373
            Chacon                               Raul Perez                                  Legal Services                                                          $7,750,000
            1875 Century Park East, Suite        310-556-4881
            1000                                 Raul.perez@capstonelawyers.com
            Los Angeles, CA 90067
                                                 Armond M. Jackson
            2 Venture Parkway, Ste. 240          949-281-6857
    4       Irvine, CA 92618                     ajackson@jacksonapc.com

            8889 West Olympic Blvd., #200        Joseph Lavi
            Beverly Hills, CA 90211              310-362-2016

            18250 Ventura Blvd.                  Sahag Majarian
            Tarzana, CA 91356                    944-978-2683


1
          On a consolidated basis. The information herein shall not constitute an admission of liability by, nor is it binding on, and Debtors with
          respect to all or any portion of the claims listed below. Moreover, nothing herein shall affect any Debtor’s right to challenge the amount
          or characterization of any claim at a later date.

    Official Form 204                                   List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders                                      Page 1
                                    Case 24-10831-KBO                    Doc 1        Filed 04/22/24              Page 10 of 35

    Name of creditor and complete mailing      Name, telephone number, and email          Nature of the     Indicate if claim   Amount of unsecured claim
        address, including zip code               address of creditor contact               claim (for       is contingent,     If the claim is fully unsecured, fill in only
                                                                                         example, trade     unliquidated, or    unsecured claim amount. If claim is partially
                                                                                           debts, bank          disputed        secured, fill in total claim amount and
                                                                                              loans,                            deduction for value of collateral or setoff to
                                                                                          professional                          calculate unsecured claim.
                                                                                          services, and                           Total     Deduction         Unsecured claim
                                                                                          government                            claim, if   for value
                                                                                            contracts)                          partially       of
                                                                                                                                secured     collateral
                                                                                                                                            or setoff
        PACIFIC BUYING AND                  Carol Hong, Managing Director               Trade Payable                                                           $7,218,028
        MARKETING SERVICE LTD               carolhong@pbms.biz
5       22/F, TAI, YAU BLDG, 181            82-2-748-9203
        JOHNSON RD, WAI CHAI
        RADIAL INC                          Kat Gibson, VP Client Account               Trade Payable                                                           $7,114,394
        PO BOX 204113, DALLAS, TX           Management
        75320-4114                          gibsonk@radial.com
                                            423.432.7464
6
                                            Emily Jones, Assistant General Counsel
                                            ejones@radial.com
                                            (610) 491 – 7124
        LEVER STYLE LTD.                    Eddie Chan, CEO                             Trade Payable                                                           $5,945,516
        WING TAI CENTRE ROOM 76             eddie.chan@leverstyle.com
        FLAT A 7TH FLOOR                    852-9034-7713
        12 HING YIP STREET
        KWUN TONG, KOWLOON                  William Tan, COO
        HONG KONG                           william.tan@leverstyle.com
7
                                            Derek Lee, CFO
                                            derek.lee@leverstyle.com

                                            Winnie Man
                                            winnie.man@leverstyle.com
        COMMISSION JUNCTION LLC             Camelia Gehrke, VP Corporate                Trade Payable                                                           $4,731,288
        #774140, 4140 SOLUTIONS             Development
8       CENTER, CHICAGO, IL 60677-4001      camelia.gehrke@cj.com
                                            415-471-3867
        Alvarez & Marsal                    Patricia Hong, Managing Director            Professional                                                            $3,500,000
        600 MADISON AVE; 8th FLOOR          phong@alvarezandmarsal.com                  Services
9       NEW YORK, NY 10022
                                            Sanjay Srikanth, Managing Director
                                            Sanjay.Srikanth@alvarezandmarsal.com
        MOTIVES                             Corey Baggett, CEO                          Trade Payable                                                           $3,177,573
        499TH AVENUE 19TH FLOOR,            corey@motivesny.com
10      NEW YORK, NY 10018                  212-265-2885


        TOTE FASHION SOURCING               Keven Lin, Merchandise Director             Trade Payable                                                           $2,929,814
        LIMITED                             keven@totefashion.com.tw
11      5F-7, NO. 1, FU HSING NORTH         886-2-27775974
        ROAD, TAIPEI TAIWAN, ROC105
        RR DONNELLEY                        Todd Fallon, Strategic Sales Executive      Trade Payable                                                           $2,417,521
        7810 SOLUTION CENTER,               Todd.fallon@rrd.com
12      CHICAGO, IL 60677-7008              614-985-2124


        URBAN CROWN LIMITED                 Kevin Moylan, President                     Trade Payable                                                           $1,900,628
        1101 WEST TOWER,EXCHANGE,           kevin@crownsmart.com
13      RD, ORTIGAS CTR, PASIG CITY,        632-687-0741
        1605
        1552 BROADWAY RETAIL OWNER          Brett Herschenfeld                          Landlord Claim                                                          $1,779,867
        LLC                                 212-216-1670
14      PO BOX 417368, BOSTON, MA           brett.herschenfeld@slgreen.com
        02241-7368




Official Form 204                                  List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders                                      Page 2
                                 Case 24-10831-KBO                   Doc 1         Filed 04/22/24              Page 11 of 35

 Name of creditor and complete mailing      Name, telephone number, and email          Nature of the     Indicate if claim   Amount of unsecured claim
     address, including zip code               address of creditor contact               claim (for       is contingent,     If the claim is fully unsecured, fill in only
                                                                                      example, trade     unliquidated, or    unsecured claim amount. If claim is partially
                                                                                        debts, bank          disputed        secured, fill in total claim amount and
                                                                                           loans,                            deduction for value of collateral or setoff to
                                                                                       professional                          calculate unsecured claim.
                                                                                       services, and                           Total     Deduction         Unsecured claim
                                                                                       government                            claim, if   for value
                                                                                         contracts)                          partially       of
                                                                                                                             secured     collateral
                                                                                                                                         or setoff
      FORTUNE FOOTWEAR INC               Thomas Paccione, CFO                        Trade Payable                                                           $1,705,548
      174 HUDSON STREET, 3RD             tpaccione@fortunefootwear.com
15    FLOOR, NEW YORK, NY 10013          212-431-6480


      BERNARDO MANUFACTURING             Gregg Castelluci, Customer Service          Trade Payable                                                           $1,664,304
      54 TAYLOR DR, EAST                 Manager
16    PROVIDENCE, RI 02916               401-272-2885


      CFL DISTRIBUTION INC               Lynda Wong, CMO                             Trade Payable                                                           $1,551,243
      HORE DE MACAU LIMITADA,            Lynda_wong@cflhk.com
17    AVENIDA DA PRAIA GRANDE, 665,      853-2897 3743
      EDIF GREAT WILL
      BRIERLEY & PARTNERS, INC.          Elizabeth Keller,                           Trade Payable                                                           $1,508,810
      PO BOX 847439, DALLAS, TX          elisabeth.keller@capillarytech.com
      75284                              214-743-5415
18
                                         Sridhar Bollam, Chief Customer Officer
                                         sridhar.bollam@capillarytech.com
      PANDERA SYSTEMS, LLC               Steve Jones, Managing Partner, Account      Professional                                                            $1,347,164
      189 S ORANGE AVE STE 1250,         Executive                                   Services
19    ORLANDO, FL 32801                  steve.jones@66degrees.com
                                         240-660-8425
      SILVER CREST CLOTHING PVT LTD      Gautam Golchha                              Trade Payable                                                           $1,279,792
      - UNIT III                         gautam@silvercrest.in
20    PLOT NO. 4E1 & E2, KIADB           +91 9886745888
      INDUSTRIAL AREA, ATTIBELE, KA
      562107
      MONUMENT CONSULTING LLC            Allison Hutchcroft, Lead Account            Professional                                                            $1,274,569
      1800 SUMMIT AVE, RICHMOND,         Manager                                     Services
21    VA 23230                           Allison.Hutchcroft@MonumentConsultin
                                         g.com
                                         804-405-2943
      CRESCENT BAHUMAN LIMITED           Abdul Mateen Khan, Brand Manager            Trade Payable                                                           $1,242,980
      45-A OFF ZAFAR ALI RD, GOLBERG     amateen@crescentbahuman.com
22    V, LAHORE, 54660                   92 345 767 6994


      MACERICH CERRITOS LLC              Doug Healey                                 Landlord Claim                                                          $1,087,129
      PO BOX 849445, LOS ANGELES,        585-249-4401
23    CA 90084-9445                      Doug.Healey@macerich.com


      GGP COLUMBIA MALL                  Troy Benson                                 Landlord Claim                                                          $1,085,579
      ROUSE FASHION PLACE, SDS-12-       312-960-5796
24    2780 PO BOX 86, MINNEAPOLIS,       Troy.Benson@bpretail.com
      MN 55486-2780
      SALESFORCE INC                     Michael Lipton, Tech Support                Trade Payable                                                           $1,060,018
      PO BOX 203141                      mlipton@salesforce.com
25    DALLAS, TX 75320-3141              612-283-3976


      ADOBE SYSTEMS, INC.                Scott Burns                                 Trade Payable                                                           $1,026,831
      75 REMITTANCE DR, #1025,           630-262-6202
26    CHICAGO, IL 60675-1025             sburns@adobe.com




Official Form 204                               List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders                                      Page 3
                                 Case 24-10831-KBO                  Doc 1         Filed 04/22/24              Page 12 of 35

 Name of creditor and complete mailing     Name, telephone number, and email          Nature of the     Indicate if claim   Amount of unsecured claim
     address, including zip code              address of creditor contact               claim (for       is contingent,     If the claim is fully unsecured, fill in only
                                                                                     example, trade     unliquidated, or    unsecured claim amount. If claim is partially
                                                                                       debts, bank          disputed        secured, fill in total claim amount and
                                                                                          loans,                            deduction for value of collateral or setoff to
                                                                                      professional                          calculate unsecured claim.
                                                                                      services, and                           Total     Deduction         Unsecured claim
                                                                                      government                            claim, if   for value
                                                                                        contracts)                          partially       of
                                                                                                                            secured     collateral
                                                                                                                                        or setoff
      QUEENS CENTER SPE, LLC             Doug Healey                                Landlord Claim                                                           $997,837
      PO BOX 849433, LOS ANGELES,        585-249-4401
27    CA 90084-9433                      Doug.Healey@macerich.com


      BLUECORE INC                       Liz Madsen                                 Trade Payable                                                            $921,113
      124 RIVINGTON ST, NEW YORK,        liz.madsen@bluecore.com
28    NY 10002                           512-554-6565


      SIMON CAPITAL GP                   Jon Murphy                                 Landlord Claim                                                           $914,038
      867925 RELIABLE PKWY,              jonmurphy@simon.com
29    CHICAGO, IL 60686-0079             347-260-0628


      TANGER PROPERTIES LIMITED          Justin Stein                               Landlord Claim                                                           $879,345
      PARTNERSHIP                        862-352-0444
30    PO BOX 414225, BOSTON, MA          js@tanger.com
      02241-4225




Official Form 204                              List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders                                      Page 4
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    Fill in this information to identify the case and this filing:

   Debtor Name          Express, Inc.

   United States Bankruptcy Court for the:                District of Delaware
                                                                                                  (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders, Corporate Ownership Statement,
            and Certification of Creditor Matrix
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                        4/22/2024                                 /s/ Stewart Glendinning
                                        MM/ DD/YYYY                              Signature of individual signing on behalf of debtor
                                                                                 Stewart Glendinning
                                                                                 Printed name
                                                                                 Chief Executive Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                   UNANIMOUS WRITTEN CONSENT IN LIEU
                  OF A SPECIAL MEETING OF THE BOARD OR
             SOLE MEMBER OF EXPRESS, INC., EXPRESS FINANCE
            CORP., EXPRESS, LLC, EXPRESS HOLDING, LLC, EXPRESS
         TOPCO LLC, EXPRESS GC, LLC, EXPRESS FASHION LOGISTICS,
         LLC, EXPRESS FASHION OPERATIONS, LLC, EXPRESS FASHION
          INVESTMENTS, LLC, UW, LLC, EXPRESS BNBS FASHION, LLC,
         AND EXPRESS FASHION DIGITAL SERVICES COSTA RICA, S.R.L.

                                         April 21, 2024

       The undersigned, being all of the members of the respective board of directors, board of

managers, or sole member, as applicable (collectively, the “Board”), of Express, Inc., Express

Finance Corp., Express, LLC, Express Holding, LLC, Express Topco LLC, Express GC, LLC,

Express Fashion Logistics, LLC, Express Fashion Operations, LLC, Express Fashion Investments,

LLC, UW, LLC, Express BNBS Fashion, LLC, and Express Fashion Digital Services Costa Rica,

S.R.L. (each a “Company” and, collectively, the “Companies”), in lieu of holding a special

meeting of the Board, hereby take the following actions and adopt the following resolutions, by

unanimous written consent, pursuant to each of the Companies’ by-laws, articles of incorporation,

operating agreement, limited liability company or equivalent governing document, as applicable

(the “Governing Document”), and the applicable laws of the jurisdiction in which such Company

is organized.

        WHEREAS, the Board, having reviewed and considered (i) the filing of a voluntary
petition for relief for each Company under the provisions of chapter 11 and title 11 of the United
States Code, 11 U.S.C. § 101 et seq. (as amended, the “Bankruptcy Code”) pursuant to applicable
law and in accordance with the requirements of each Company’s Governing Documents and
applicable law (the “Restructuring Matters”); and (ii) to the extent applicable, authorizing entry
into and performance under the DIP Facility Documents as defined herein,

       WHEREAS, the Board, having reviewed and considered the materials presented by the
management of each Company and each Company’s financial and legal advisors, and having had
adequate opportunity to consult such persons regarding the materials presented, obtain additional
information, and to fully consider each of the strategic alternatives available to each Company,
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        NOW, THEREFORE, IT IS HEREBY RESOLVED, that, pursuant to the applicable
Governing Documents of each Company, the undersigned to hereby adopt the following
resolutions:

           I. Chapter 11 Filing

                 RESOLVED, in the business judgment of the Board, it is desirable and in the best
interest of each Company, the stakeholders, the creditors, and other parties in interest, that each
Company files or causes to be filed voluntary petitions for relief (the “Bankruptcy Petitions”)
under the provisions of chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court
for the District of Delaware, and any other petition for relief or recognition or other order that may
be desirable under applicable law in the United States, and, in accordance with the requirements
in each Company’s Governing Documents and applicable law, hereby consents to, authorizes and
approves, the filing of the Bankruptcy Petitions; and

        RESOLVED FURTHER, any director, manager, or other duly appointed officer of each
Company (collectively, the “Authorized Persons”) shall be, and each of them individually hereby
is, authorized and directed for and on behalf of each Company to take all actions (including,
without limitation, to negotiate and execute any documents, certificates, supplemental agreements,
and instruments) to act as signatory and attorney on behalf of each Company in respect of the
Restructuring Matters and/or any persons to whom such Authorized Persons and/or officers
delegate certain responsibilities, be, and hereby are, authorized to execute and file on behalf of
each Company all petitions, schedules, lists, and other motions, papers, or documents, and to take
any and all action that they deem necessary or proper to obtain such relief, including, but not
limited to, any action necessary or proper to maintain the ordinary course operations of each
Company or any of its subsidiaries’ businesses.

   II.     Withdrawal of Registration of Express, Inc.

        RESOLVED FURTHER, that the Chief Executive Officer and the Chief Legal Officer
and Corporate Secretary (collectively, the “Authorized Officers”) be, and each hereby is,
authorized, on behalf of and in the name of Express, Inc. (“Express”), to take all actions and do all
things necessary, proper or advisable to cause the deregistration of Express’s common stock,
including without limitation, filing any post-effective amendments to registration statements
(including any registration statements on Form S-8) and Form 15 with the Securities and Exchange
Commission (“SEC”) to deregister any unsold securities and to suspend the Company’s reporting
obligations pursuant to SEC Rule 15d-6; and

        RESOLVED FURTHER, that each of the Authorized Officers of Express be, and hereby
is, authorized, directed, and empowered in the name of, and on behalf of, Express to take all such
further actions, including, without limitation, to execute and deliver all such further agreements,
instruments, documents or certificates, in the name and on behalf of Express, and to pay all such
fees and expenses incurred by or on behalf of Express, which shall in their sole judgment be
necessary, appropriate, or desirable to implement the actions authorized by the foregoing
resolutions.
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   III.    Retention of Professionals

         RESOLVED FURTHER, each of the Authorized Persons, be, and hereby is, authorized,
empowered, and directed to employ on behalf of each Company: (i) the law firm of Kirkland &
Ellis LLP and Kirkland & Ellis International LLP (together, “Kirkland”) as bankruptcy counsel;
(ii) the law firm of Klehr Harrison Harvey Branzburg LLP as local bankruptcy counsel;
(iii) Moelis & Company LLC as investment banker; (iv) M3 Advisory Partners, LP as
restructuring advisor; (v) Stretto, Inc. as claims and noticing agent; and (vi) any other legal
counsel, accountants, financial advisors, restructuring advisors, or other professionals the
Authorized Persons deem necessary, appropriate, or advisable; each to represent and assist each
Company in carrying out their duties and responsibilities and exercising their rights under the
Bankruptcy Code and any applicable law (including, but not limited to, the law firms filing any
pleadings or responses); and in connection therewith, the Authorized Persons, be, and hereby are,
authorized, empowered and directed, in accordance with the terms and conditions hereof, to
execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed
appropriate applications for authority to retain such services; and

       RESOLVED FURTHER, each of the Authorized Persons, be, and hereby is, authorized,
empowered, and directed to execute and file all petitions, schedules, motions, lists, applications,
pleadings, and other papers, and to perform such further actions and execute such further
documentation that the Authorized Persons in their absolute discretion deem necessary,
appropriate, or desirable in accordance with these resolutions.

   IV.     Use of Cash Collateral, Debtor-in-Possession Financing, and Adequate
           Protection

         RESOLVED FURTHER, to the extent applicable to each Company, in the business
judgment of the Authorized Persons, it is desirable and in the best interest of each Company, its
stakeholders, its creditors, and other parties in interest to obtain the benefits of (i) the use of cash
collateral, as such term is defined in section 363(a) of the Bankruptcy Code (“Cash Collateral”),
which is security for certain of each Company’s prepetition secured lenders
(the “Prepetition Secured Lenders”) under certain credit facilities by and among each Company,
the guarantors party thereto, and the lenders party thereto; and (ii) the incurrence of
debtor-in-possession financing obligations (“DIP Financing”) by entering into that certain Senior
Secured Super-Priority Priming Debtor-In-Possession Asset-Based Loan Credit Agreement
(together with all exhibits, schedules, and annexes thereto, as amended, amended and restated,
supplemented, or otherwise modified from time to time, the “ABL DIP Credit Agreement”) and
that certain Senior Secured Super-Priority Priming Debtor-In-Possession Asset-Based Term Loan
Agreement (together with all exhibits, schedules, and annexes thereto, as amended, amended and
restated, supplemented, or otherwise modified from time to time, the “Term Loan DIP
Credit Agreement” and together with the ABL DIP Credit Agreement, the “DIP Credit
Agreements” and each, a “DIP Credit Agreement”) by and among each Company, the financial
institutions from time to time party thereto and their successors and assigns (with respect to ABL
DIP Credit Agreement, the “ABL DIP Lenders” and with respect to the Term Loan DIP Credit
Agreement, the “Term Loan DIP Lenders” and together with the ABL DIP Lenders, collectively,
the “DIP Lenders”)), and (x) with respect to the ABL DIP Credit Agreement, Wells Fargo Bank,
National Association, in its capacity as administrative agent and collateral agent for the ABL DIP
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Lenders (in such capacity and together with any successor or assigns, the “ABL DIP Agent”) and
(y) with respect to the Term Loan DIP Credit Agreement, ReStore, in its capacity as administrative
agent and collateral agent for the Term Loan DIP Lenders (in such capacity and together with any
successor or assigns, the “Term Loan DIP Agent” and together with the ABL DIP Agent,
collectively, the “DIP Agents” and each, a “DIP Agent”), in each case, on the terms set forth
therein;

        RESOLVED FURTHER, in order to use and obtain the benefits of DIP Financing and
the Cash Collateral, and in accordance with section 363 of the Bankruptcy Code, each Company
will provide certain adequate protection to the Prepetition Secured Lenders (the “Adequate
Protection Obligations”) as documented in the proposed interim and final orders (collectively,
the “DIP Orders”) to be submitted for approval of the Bankruptcy Court, and, to the extent that
each Company is required to obtain consent from the Prepetition Secured Lenders to enter into any
of the DIP Facility Documents (as defined herein), such consent has been (or will be) obtained
from the Prepetition Secured Lenders (as defined in the DIP Credit Agreements);

        RESOLVED FURTHER, in the business judgment of the Authorized Persons, the form,
terms, and provisions of the DIP Credit Agreements and such other agreements, certificates,
instruments, receipts, petitions, motions, or other papers or documents required to consummate the
transaction considered by the DIP Orders (collectively, the “DIP Facility Documents”),
substantially in the forms circulated to the Authorized Persons, and each Company’s execution,
delivery, and performance of their obligations under the DIP Facility Documents, including,
without limitation, the grant of security interests under the DIP Facility Documents, and any
borrowings or guaranty therewith, be, and hereby are, in all respects, authorized and approved;

       RESOLVED FURTHER, each Company will obtain benefits from the incurrence of the
borrowings under the DIP Credit Agreements and the other obligations under the DIP Credit
Agreements and the other Loan Documents (as defined in the DIP Credit Agreements) which are
necessary and convenient to the conduct, promotion, and attainment of the business of each
Company;

        RESOLVED FURTHER, to the extent applicable, each Company shall be, and are
hereby, authorized to enter into the DIP Facility Documents and incur the obligations thereunder
(the “DIP Obligations”), including the borrowing of the loans under the DIP Credit Agreements,
and other obligations related to the DIP Financing and to undertake any and all related transactions
on substantially the same terms as contemplated under the DIP Facility Documents, including
granting liens on and security interests in its assets, including the Collateral (as defined in the DIP
Credit Agreements), to the DIP Agent, and each of the Authorized Persons be, and hereby is,
authorized, empowered, and directed in the name of, and on behalf of, each Company to execute,
deliver, and perform all of the obligations and the transactions contemplated under each of the DIP
Facility Documents in the name and on behalf of each Company, with such changes, additions,
and modifications thereto as such Authorized Person shall approve, with such approval to be
conclusively evidenced by such Authorized Person’s execution and delivery thereof;

        RESOLVED FURTHER, each of the Authorized Persons be, and hereby is, authorized,
in the name and on behalf of each Company, to take all such further actions, or cause all such
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further actions to be taken, and to execute and deliver all such further agreements, documents,
instruments, certificates, recordings, and filings, in the name and on behalf of each Company, as
in the determination of such Authorized Person shall be necessary, proper, or advisable in order to
fully carry out the intent and accomplish the purposes of the foregoing resolutions and to
consummate the transactions contemplated thereby, such authority to be conclusively evidenced
by the execution of any document or the taking of any such action by such Authorized Person;

        RESOLVED FURTHER, each of the Authorized Persons be, and hereby is, authorized,
in the name and on behalf of each Company, to enter into any guarantees as described or
contemplated by the DIP Facility Documents or any other documents, certificates, instruments,
agreements, intercreditor agreements, any extension amendment, any incremental agreement, or
any other amendment required to consummate the transactions contemplated by the DIP Facility
Documents and perform its obligations thereunder, and to guarantee the payment and performance
of the DIP Obligations of each Company and any other guarantor thereunder;

        RESOLVED FURTHER, each of the Authorized Persons be, and hereby is, authorized,
empowered, and directed in the name of, and on behalf of, each Company to seek authorization to
incur the DIP Obligations and approval to use Cash Collateral pursuant to the DIP Orders, and any
Authorized Person be, and hereby is, authorized, empowered, and directed to negotiate, execute,
and deliver any and all agreements, instruments, or documents, by or on behalf of each Company,
necessary to implement the postpetition financing, including the Adequate Protection Obligations
to the Prepetition Secured Lenders in accordance with section 363 of the Bankruptcy Code, as well
as any additional or further agreements for entry into the DIP Facility Documents and the use of
Cash Collateral in connection with the chapter 11 cases, which agreements may require each
Company to grant adequate protection and liens to the Prepetition Secured Lenders and each other
agreement, instrument, or document to be executed and delivered in connection therewith, by or
on behalf of each Company pursuant thereto or in connection therewith, all with such changes
therein and additions thereto as any Authorized Person approves, such approval to be conclusively
evidenced by the taking of such action or by the execution and delivery thereof;

        RESOLVED FURTHER, each of the Authorized Persons be, and hereby is, authorized,
directed, and empowered, in the name of, and on behalf of, each Company to take such actions
and negotiate or cause to be prepared and negotiated and to execute, deliver, perform, and cause
the performance of each of the transactions contemplated by the DIP Facility Documents and such
other agreements, certificates, instruments, receipts, petitions, motions, or other papers or required
documents to which each Company are or will be party or any order entered into in connection
with the chapter 11 cases (together with the DIP Facility Documents and the DIP Orders, the “DIP
Financing Documents”) and to incur and pay or cause to be paid all related fees and expenses, with
such changes, additions, and modifications thereto as an Authorized Person executing the same
shall approve;

        RESOLVED FURTHER, the Companies, as debtors and debtors in possession under the
Bankruptcy Code, be, and hereby are, authorized, empowered, and directed to incur any and all
obligations and to undertake any and all related transactions on substantially the same terms as
contemplated under the DIP Financing Documents, including granting liens on its assets to secure
such obligations; and
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        RESOLVED FURTHER, each of the Authorized Persons be, and hereby is, authorized,
empowered, and directed in the name of, and on behalf of, each Company to execute and deliver
any amendments, supplements, modifications, renewals, replacements, consolidations,
substitutions, and extensions of the postpetition financing or any of the DIP Financing Documents
or to do such other things which shall in his or her or their sole business judgment be necessary,
desirable, proper, or advisable in order to perform the DIP Obligations and to give effect to the
foregoing resolutions, which determination shall be conclusively evidenced by his or her or their
execution thereof.

   V.      Further Actions and Prior Actions

        RESOLVED FURTHER, each Company is hereby authorized to authorize (and each
Company hereby authorizes) any direct or indirect subsidiary of each Company or any entity of
which such Company or any subsidiary of such Company is the sole member, general partner,
managing member, or equivalent manager, as applicable, to take each of the actions described in
these resolutions or any of the actions authorized in these resolutions, and none of the resolutions
contained herein, or action taken in furtherance hereto, shall have or cause an adverse effect on
any such subsidiary or such Company’s interest therein (including, without limitation, any
automatic dissolution, divestiture, dissociation, or like event under applicable law);

       RESOLVED FURTHER, in addition to the specific authorizations heretofore conferred
upon the Authorized Persons, the Authorized Persons, either individually or as otherwise required
by each Company’s Governing Documents and applicable law, be, and each of them hereby is,
authorized to execute, acknowledge, deliver, and file any and all agreements, certificates,
instruments, powers of attorney, letters, forms, transfers, deeds, and other documents on behalf of
each Company relating to the Restructuring Matters;

        RESOLVED FURTHER, each of the Authorized Persons (and their designees and
delegates) be, and hereby is, authorized and empowered, in the name of and on behalf of each
Company, to take or cause to be taken any and all such other and further action, and to execute,
acknowledge, deliver, and file any and all such agreements, certificates, instruments, and other
documents, and to pay all expenses, including, but not limited to, filing fees, in each case as in
such Authorized Person’s or Authorized Persons’ absolute discretion, shall be necessary,
appropriate, or desirable in order to fully carry out the intent and accomplish the purposes of the
resolution adopted herein;

        RESOLVED FURTHER, the Board has received sufficient notice of the actions and
transactions relating to the matters contemplated by the foregoing resolutions, as may be required
by the Governing Documents of each Company, or hereby waives any right to have received such
notice;

        RESOLVED FURTHER, all acts, actions, and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of each Company,
which acts would have been approved by the foregoing resolutions except that such acts were
taken before the adoption of these resolutions, are hereby in all respects approved, confirmed, and
ratified as the true acts and deeds of the Company with the same force and effect as if each such
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act, transaction, agreement, or certificate had been specifically authorized in advance by resolution
of the Board;

        RESOLVED FURTHER, any Authorized Person be, and each of them hereby is,
authorized to do all such other acts, deeds, and other things as each Company itself may lawfully
do, in accordance with their Governing Documents and applicable law, howsoever arising in
connection with the matters above, or in furtherance of the intentions expressed in the foregoing
resolutions, including, but not limited to, the negotiation, finalization, execution, and delivery of
any other agreements, certificates, instruments, powers of attorney, letters, forms, transfers, deeds,
and other documents whatsoever as the individual acting may in his or her absolute and unfettered
discretion approve, deem, or determine necessary, appropriate, or advisable, such approval,
deeming, or determination to be conclusively evidenced by said individual taking such action or
the execution thereof. This consent may be executed in as many counterparts as may be required
and all counterparts shall collectively constitute one and the same consent;

        RESOLVED FURTHER, that this consent may be executed in multiple counterparts or
copies, each of which shall be deemed an original for all purposes. One or more counterparts or
copies of this consent, or signature pages hereto, may be executed by one or more of the
undersigned, and some different counterparts, copies, or signature pages executed by one or more
of the other undersigned. Each counterpart or copy hereof so executed by any of the undersigned
shall be binding upon the undersigned executing the same even though other of the undersigned
may execute one or more different counterparts, copies, or signature pages, and all counterparts or
copies hereof (including any such signature pages) so executed shall constitute one and the same
consent. Each member of the Board, by execution of one or more counterparts or copies hereof or
signature pages hereto, expressly authorizes and directs the secretary or any assistant secretary of
each Company, or counsel to each Company, to affix the signature pages executed by the
authorizing director to one or more other counterparts or copies hereof so that upon execution of
multiple counterparts or copies hereof or signature pages hereto by all of the undersigned, there
shall be one or more counterparts or copies hereof to which is (are) attached signature pages
containing signatures of all of the undersigned;

        RESOLVED FURTHER, that this consent and signature pages hereto may be executed
and delivered by electronic means (including electronic image, facsimile, “.pdf,” “.tif,” and
“.jpeg”), and thereupon shall be treated in each case and in all manner and respects and for all
purposes as an original and shall be considered to have the same binding legal effect as if it were
an original manually-signed counterpart hereof delivered in person; and

        RESOLVED FURTHER, that this consent shall become effective as of the date first set
forth above upon each Company’s receipt of the executed counterpart signature pages from all of
the members of the Board.
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       The actions taken by this consent shall have the same force and effect as if taken at a special

meeting of the Board, duly called and constituted, pursuant to the applicable laws of the

jurisdiction in which each Company is organized.

                                            ******
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       IN WITNESS WHEREOF, the undersigned, being all of the members of the Board of

Express, Inc., have executed this consent as of the date first written above.



                                                  By:
                                                  Name: Mylle Mangum


                                                  By:
                                                  Name: Stewart Glendinning


                                                  By:
                                                  Name: Michael G. Archbold


                                                  By:
                                                  Name: Terry Davenport


                                                  By:
                                                  Name: Karen Leever


                                                  By:
                                                  Name: Patricia E. Lopez


                                                  By:
                                                  Name: Satish Mehta


                                                  By:
                                                  Name: Peter Swinburn




                                                  By:
                                                  Name: William Transier
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       IN WITNESS WHEREOF, the undersigned, being all of the members of the Board of

Express, Inc., have executed this consent as of the date first written above.



                                                  By:
                                                  Name: Mylle Mangum


                                                  By:
                                                  Name: Stewart Glendinning


                                                  By:
                                                  Name: Michael G. Archbold


                                                  By:
                                                  Name: Terry Davenport


                                                  By:
                                                  Name: Karen Leever


                                                  By:
                                                  Name: Patricia E. Lopez


                                                  By:
                                                  Name: Satish Mehta


                                                  By:
                                                  Name: Peter Swinburn




                                                  By:
                                                  Name: William Transier
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       IN WITNESS WHEREOF, the undersigned, being all of the members of the Board of

Express, Inc., have executed this consent as of the date first written above.



                                                  By:
                                                  Name: Mylle Mangum


                                                  By:
                                                  Name: Stewart Glendinning


                                                  By:
                                                  Name: Michael G. Archbold


                                                  By:
                                                  Name: Terry Davenport


                                                  By:
                                                  Name: Karen Leever


                                                  By:
                                                  Name: Patricia E. Lopez


                                                  By:
                                                  Name: Satish Mehta


                                                  By:
                                                  Name: Peter Swinburn




                                                  By:
                                                  Name: William Transier
              Case 24-10831-KBO          Doc 1     Filed 04/22/24     Page 25 of 35




       IN WITNESS WHEREOF, the undersigned, being all of the members of the Board of

Express, Inc., have executed this consent as of the date first written above.



                                                  By:
                                                  Name: Mylle Mangum


                                                  By:
                                                  Name: Stewart Glendinning


                                                  By:
                                                  Name: Michael G. Archbold


                                                  By:
                                                  Name: Terry Davenport


                                                  By:
                                                  Name: Karen Leever


                                                  By:
                                                  Name: Patricia E. Lopez


                                                  By:
                                                  Name: Satish Mehta


                                                  By:
                                                  Name: Peter Swinburn




                                                  By:
                                                  Name: William Transier
              Case 24-10831-KBO          Doc 1     Filed 04/22/24     Page 26 of 35




       IN WITNESS WHEREOF, the undersigned, being all of the members of the Board of

Express, Inc., have executed this consent as of the date first written above.



                                                  By:
                                                  Name: Mylle Mangum


                                                  By:
                                                  Name: Stewart Glendinning


                                                  By:
                                                  Name: Michael G. Archbold


                                                  By:
                                                  Name: Terry Davenport


                                                  By:
                                                  Name: Karen Leever


                                                  By:
                                                  Name: Patricia E. Lopez


                                                  By:
                                                  Name: Satish Mehta


                                                  By:
                                                  Name: Peter Swinburn




                                                  By:
                                                  Name: William Transier
              Case 24-10831-KBO          Doc 1     Filed 04/22/24     Page 27 of 35




       IN WITNESS WHEREOF, the undersigned, being all of the members of the Board of

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                                                  By:
                                                  Name: Mylle Mangum


                                                  By:
                                                  Name: Stewart Glendinning


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                                                  Name: Michael G. Archbold


                                                  By:
                                                  Name: Terry Davenport


                                                  By:
                                                  Name: Karen Leever


                                                  By:
                                                  Name: Patricia E. Lopez


                                                  By:
                                                  Name: Satish Mehta


                                                  By:
                                                  Name: Peter Swinburn




                                                  By:
                                                  Name: William Transier
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                                          
                                Case 24-10831-KBO        Doc 1   Filed 04/22/24     Page 28 of 35




                         IN WITNESS WHEREOF, the undersigned, being all of the members of the Board of

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                                                                 By:
                                                                 Name: Mylle Mangum


                                                                 By:
                                                                 Name: Stewart Glendinning


                                                                 By:
                                                                 Name: Michael G. Archbold


                                                                 By:
                                                                 Name: Terry Davenport


                                                                 By:
                                                                 Name: Karen Leever


                                                                 By:
                                                                 Name: Patricia E. Lopez


                                                                 By:
                                                                 Name: Satish Mehta


                                                                 By:
                                                                 Name: Peter Swinburn




                                                                 By:
                                                                 Name: William Transier
              Case 24-10831-KBO          Doc 1     Filed 04/22/24     Page 29 of 35




       IN WITNESS WHEREOF, the undersigned, being all of the members of the Board of

Express, Inc., have executed this consent as of the date first written above.



                                                  By:
                                                  Name: Mylle Mangum


                                                  By:
                                                  Name: Stewart Glendinning


                                                  By:
                                                  Name: Michael G. Archbold


                                                  By:
                                                  Name: Terry Davenport


                                                  By:
                                                  Name: Karen Leever


                                                  By:
                                                  Name: Patricia E. Lopez


                                                  By:
                                                  Name: Satish Mehta


                                                  By:
                                                  Name: Peter Swinburn




                                                  By:
                                                  Name: William Transier
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                            Case 24-10831-KBO           Doc 1   Filed 04/22/24    Page 30 of 35




                    IN WITNESS WHEREOF, the undersigned, being all of the members of the Board of

            Express, Inc., have executed this consent as of the date first written above.



                                                                By:
                                                                Name: Mylle Mangum


                                                                By:
                                                                Name: Stewart Glendinning


                                                                By:
                                                                Name: Michael G. Archbold


                                                                By:
                                                                Name: Terry Davenport


                                                                By:
                                                                Name: Karen Leever


                                                                By:
                                                                Name: Patricia E. Lopez


                                                                By:
                                                                Name: Satish Mehta


                                                                By:
                                                                Name: Peter Swinburn




                                                                By:
                                                                Name: William Transier
              Case 24-10831-KBO         Doc 1    Filed 04/22/24     Page 31 of 35




       IN WITNESS WHEREOF, the undersigned, being the sole director of the Board of

Express Finance Corp., have executed this consent as of the date first written above.




                                                 By:
                                                 Name: Stewart Glendinning
             Case 24-10831-KBO      Doc 1    Filed 04/22/24   Page 32 of 35




       IN WITNESS WHEREOF, the undersigned has executed this consent as of the date first

written above.




                                            By:
                                            Name: Stewart Glendinning

                                            Being the sole member of the Board of:
                                            -- EXPRESS, LLC
                                            -- EXPRESS HOLDING, LLC
                                            -- EXPRESS TOPCO LLC
                                            -- EXPRESS GC, LLC
                                            -- EXPRESS FASHION LOGISTICS, LLC
                                            -- EXPRESS FASHION OPERATIONS, LLC
             Case 24-10831-KBO      Doc 1    Filed 04/22/24   Page 33 of 35




       IN WITNESS WHEREOF, the undersigned has executed this consent as of the date first

written above.


                                            EXPRESS, LLC, as sole member of:
                                            -- Express Fashion Investments, LLC



                                            By:
                                            Name: Stewart Glendinning
                                            Title: Chief Executive Officer
            Case 24-10831-KBO       Doc 1   Filed 04/22/24   Page 34 of 35




        IN WITNESS WHEREOF, the undersigned has executed this consent as of the date
first written above.

                                            EXPRESS FASHION OPERATIONS, LLC,
                                            as sole member of:
                                            -- UW, LLC
                                            -- Express BNBS Fashion, LLC



                                            By:
                                            Name: Stewart Glendinning
                                            Title: Chief Executive Officer
             Case 24-10831-KBO      Doc 1    Filed 04/22/24   Page 35 of 35




       IN WITNESS WHEREOF, the undersigned has executed this consent as of the date first

written above.




                                            EXPRESS, LLC, as sole member of:
                                            -- Express Fashion Digital Services Costa Rica
                                            S.R.L



                                            By:
                                            Name: Stewart Glendinning
                                            Title: Chief Executive Officer
